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 4
     Attorney for Defendant
 5   CECILIO MENDEZ-PRIETO
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                        Case No. 2:10-CR-0290 FCD
11                  Plaintiff,

12 v.
                                                        STIPULATION AND ORDER FOR
13                                                      CONTINUANCE OF STATUS
     CECILIO MENDEZ-PRIETO, et al.                      CONFERENCE
14
                    Defendants.
15
16
17
18                                              STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Michael Beckwith, defendant Jacob Daniel Cobb, by and through his counsel, Jeffrey
21   Staniels, and defendant Cecilio Mendez-Prieto, by and through his counsel, Erin J. Radekin, agree
22   and stipulate to vacate the date set for status conference, November 1, 2010 at 10:00 a.m., in the
23   above-captioned matter, and to continue the status conference to January 10, 2011 at 10:00 a.m., in
24   the courtroom of the Honorable Frank C. Damrell, Jr.
25          The reason for this request is that Ms. Radekin and Mr. Staniels need additional time for
26   investigation and defense preparation. The Court is advised that Mr. Beckwith and Mr. Staniels
27   concur with this request and have authorized Ms. Radekin to sign this stipulation on their behalf.
28          The parties further agree and stipulate that the time period from the filing of this stipulation
     until January 10, 2011 should be excluded in computing time for commencement of trial under the
         Case 2:10-cr-00290-KJM Document 31 Filed 10/27/10 Page 2 of 2


 1   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 2   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 3   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 4   outweigh the best interests of the public and the defendant in a speedy trial.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED
 7   Dated: October 27, 2010                                  BENJAMIN WAGNER
                                                              United States Attorney
 8
                                                        By:          /s/ Michael Beckwith
 9                                                            MICHAEL BECKWITH
                                                              Assistant United States Attorney
10
11   Dated: October 27, 2010                                        /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
12                                                            Attorney for Defendant
                                                              CECILIO MENDEZ-PRIETO
13
     Dated: October 27, 2010                                        /s/ Jeffrey Staniels
14                                                            JEFFREY STANIELS
                                                              Attorney for Defendant
15                                                            JACOB DANIEL COBB
16
                                                      ORDER
17
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
18
     status conference date of November 1, 2010 at 10:00 a.m. is VACATED and the above-captioned
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     matter is set for status conference on January 10, 2011 at 10:00 a.m. The court finds excludable
20
     time in this matter through January 10, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
21
     T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
22
     preparation. For the reasons stipulated by the parties, the Court finds that the interest of justice
23
     served by granting the request outweigh the best interests of the public and the defendant in a speedy
24
     trial. 18 U.S.C. 3161(h)(7)(A), (h)(7)(B)(iv).
25
            IT IS SO ORDERED.
26
     Dated: October 27, 2010
27                                                    _______________________________________
                                                      FRANK C. DAMRELL, JR.
28                                                    UNITED STATES DISTRICT JUDGE

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